Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 1 of 108 Page ID
                                  #:120449
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 2 of 108 Page ID
                                  #:120450
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 3 of 108 Page ID
                                  #:120451
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 4 of 108 Page ID
                                  #:120452
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 5 of 108 Page ID
                                  #:120453
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 6 of 108 Page ID
                                  #:120454
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 7 of 108 Page ID
                                  #:120455
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 8 of 108 Page ID
                                  #:120456
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 9 of 108 Page ID
                                  #:120457
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 10 of 108 Page ID
                                  #:120458
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 11 of 108 Page ID
                                  #:120459
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 12 of 108 Page ID
                                  #:120460
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 13 of 108 Page ID
                                  #:120461
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 14 of 108 Page ID
                                  #:120462
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 15 of 108 Page ID
                                  #:120463
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 16 of 108 Page ID
                                  #:120464
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 17 of 108 Page ID
                                  #:120465
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 18 of 108 Page ID
                                  #:120466
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 19 of 108 Page ID
                                  #:120467
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 20 of 108 Page ID
                                  #:120468
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 21 of 108 Page ID
                                  #:120469
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 22 of 108 Page ID
                                  #:120470
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 23 of 108 Page ID
                                  #:120471
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 24 of 108 Page ID
                                  #:120472
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 25 of 108 Page ID
                                  #:120473
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 26 of 108 Page ID
                                  #:120474
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 27 of 108 Page ID
                                  #:120475
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 28 of 108 Page ID
                                  #:120476
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 29 of 108 Page ID
                                  #:120477
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 30 of 108 Page ID
                                  #:120478
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 31 of 108 Page ID
                                  #:120479
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 32 of 108 Page ID
                                  #:120480
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 33 of 108 Page ID
                                  #:120481
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 34 of 108 Page ID
                                  #:120482
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 35 of 108 Page ID
                                  #:120483
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 36 of 108 Page ID
                                  #:120484
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 37 of 108 Page ID
                                  #:120485
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 38 of 108 Page ID
                                  #:120486
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 39 of 108 Page ID
                                  #:120487
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 40 of 108 Page ID
                                  #:120488
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 41 of 108 Page ID
                                  #:120489
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 42 of 108 Page ID
                                  #:120490
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 43 of 108 Page ID
                                  #:120491
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 44 of 108 Page ID
                                  #:120492
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 45 of 108 Page ID
                                  #:120493
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 46 of 108 Page ID
                                  #:120494
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 47 of 108 Page ID
                                  #:120495
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 48 of 108 Page ID
                                  #:120496
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 49 of 108 Page ID
                                  #:120497
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 50 of 108 Page ID
                                  #:120498
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 51 of 108 Page ID
                                  #:120499
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 52 of 108 Page ID
                                  #:120500
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 53 of 108 Page ID
                                  #:120501
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 54 of 108 Page ID
                                  #:120502
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 55 of 108 Page ID
                                  #:120503
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 56 of 108 Page ID
                                  #:120504
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 57 of 108 Page ID
                                  #:120505
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 58 of 108 Page ID
                                  #:120506
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 59 of 108 Page ID
                                  #:120507
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 60 of 108 Page ID
                                  #:120508
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 61 of 108 Page ID
                                  #:120509
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 62 of 108 Page ID
                                  #:120510
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 63 of 108 Page ID
                                  #:120511
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 64 of 108 Page ID
                                  #:120512
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 65 of 108 Page ID
                                  #:120513
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 66 of 108 Page ID
                                  #:120514
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 67 of 108 Page ID
                                  #:120515
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 68 of 108 Page ID
                                  #:120516
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 69 of 108 Page ID
                                  #:120517
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 70 of 108 Page ID
                                  #:120518
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 71 of 108 Page ID
                                  #:120519
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 72 of 108 Page ID
                                  #:120520
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 73 of 108 Page ID
                                  #:120521
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 74 of 108 Page ID
                                  #:120522
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 75 of 108 Page ID
                                  #:120523
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 76 of 108 Page ID
                                  #:120524
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 77 of 108 Page ID
                                  #:120525
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 78 of 108 Page ID
                                  #:120526
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 79 of 108 Page ID
                                  #:120527
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 80 of 108 Page ID
                                  #:120528
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 81 of 108 Page ID
                                  #:120529
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 82 of 108 Page ID
                                  #:120530
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 83 of 108 Page ID
                                  #:120531
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 84 of 108 Page ID
                                  #:120532
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 85 of 108 Page ID
                                  #:120533
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 86 of 108 Page ID
                                  #:120534
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 87 of 108 Page ID
                                  #:120535
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 88 of 108 Page ID
                                  #:120536
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 89 of 108 Page ID
                                  #:120537
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 90 of 108 Page ID
                                  #:120538
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 91 of 108 Page ID
                                  #:120539
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 92 of 108 Page ID
                                  #:120540
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 93 of 108 Page ID
                                  #:120541
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 94 of 108 Page ID
                                  #:120542
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 95 of 108 Page ID
                                  #:120543
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 96 of 108 Page ID
                                  #:120544
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 97 of 108 Page ID
                                  #:120545
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 98 of 108 Page ID
                                  #:120546
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 99 of 108 Page ID
                                  #:120547
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 100 of 108 Page
                                ID #:120548
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 101 of 108 Page
                                ID #:120549
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 102 of 108 Page
                                ID #:120550
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 103 of 108 Page
                                ID #:120551
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 104 of 108 Page
                                ID #:120552
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 105 of 108 Page
                                ID #:120553
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 106 of 108 Page
                                ID #:120554
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 107 of 108 Page
                                ID #:120555
Case 2:04-cv-09049-DOC-RNB Document 4374-15 Filed 10/20/08 Page 108 of 108 Page
                                ID #:120556
